Case 8:18-cv-02223-JLS-JDE Document 155 Filed 11/16/23 Page 1 of 4 Page ID #:6299




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   10
   11                      UNITED STATES DISTRICT COURT
   12         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13
   14 In re: Hyundai and Kia Engine               CASE No. 8:18-cv-02223-JLS-JDE
      Litigation II
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                                                  STATUS UPDATE REGARDING
   16                                             NOTICE TO CERTAIN CLASS
                                                  MEMBERS
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   18                                             The Hon. Josephine L. Staton
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                                                                 Case No. 8:18-cv-02223-JLS-JDE
                                 STATUS UPDATE REGARDING NOTICE TO CERTAIN CLASS MEMBERS
Case 8:18-cv-02223-JLS-JDE Document 155 Filed 11/16/23 Page 2 of 4 Page ID #:6300




    1        Defendants Kia America, Inc. and Kia Corporation (collectively, “Kia”) submit
    2 this notice to provide an update to the Court regarding defendants’ proposal regarding
    3 inadvertent omission of certain class members from class settlement. Dkt. 149.
    4        On October 12, 2023, defendants notified the Court that a system error meant
    5 certain Kia owners and lessees have not yet received notice of the class settlement.
    6 Dkt. 149. In the notice, defendants proposed disseminating a notice package on
    7 November 6, 2023, with a cover sheet to accompany the long-form notices explaining
    8 that certain deadlines have been extended as a consequence. Dkt. 149-1.
    9        On November 3, 2023, the Court approved defendants’ proposal and cover
   10 sheet. Dkt. 154. However, due to the timing of the approval, Kia’s settlement
   11 administrators were not able to disseminate the notice package on November 6, and
   12 instead will now send out the notices on November 22, 2023, 16 days later than
   13 defendants originally proposed. As the deadlines in the previously submitted cover
   14 sheet assumed a November 6 notice date, all the adjusted deadlines have been pushed
   15 out by 16 days. The deadlines to opt out and/or object and request to appear have
   16 been pushed out an additional two days so that the deadlines would not fall on a
   17 holiday. The revised cover sheet is attached as Exhibit A.
   18        As detailed in the revised cover sheet, for these affected class members only:
   19            Where the notice specifies that the date of the Qualifying Repair must
   20               have been performed on or before June 7, 2023, for claims that must be
   21               submitted by December 7, 2023, the Qualifying Repairs can instead have
   22               been performed on or before November 22, 2023, and affected class
   23               members have until February 19, 2024 (instead of December 7, 2023)
   24               to submit such claims.       For Qualifying Repairs occurring after
   25               November 22, 2023 (instead of June 7, 2023), claims must be submitted
   26               within 90 days of when the Qualifying Repair occurred. This affects the
   27               following benefits:
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                                              -1-                Case No. 8:18-cv-02223-JLS-JDE
                                 STATUS UPDATE REGARDING NOTICE TO CERTAIN CLASS MEMBERS
Case 8:18-cv-02223-JLS-JDE Document 155 Filed 11/16/23 Page 3 of 4 Page ID #:6301




    1                 o Repair Reimbursements (including the goodwill payment for
    2                    previously denied warranty repairs)
    3                 o Repair-Related Transportation and Towing Reimbursements
    4                 o Inconvenience Due to Repair Delays
    5           Where the notice specifies that the date of the Qualifying Failure or
    6              Qualifying Fire must have occurred on or before June 7, 2023, for claims
    7              that must be submitted by December 7, 2023, Qualifying Failures or
    8              Qualifying Fires can instead have occurred on or before November 22,
    9              2023, and affected class members have until February 19, 2024 (instead
   10              of December 7, 2023) to submit such claims. For Qualifying Failures or
   11              Qualifying Fires occurring after November 22, 2023 (instead of June 7,
   12              2023), claims must be submitted within 90 days of when the Qualifying
   13              Failure or Qualifying Fire occurred. This affects the following benefits:
   14                 o Incidentals for Qualifying Failure or Qualifying Fire
   15                 o Loss of Value for Certain Sold or Traded-In Vehicles
   16                 o Loss of Vehicle by Qualifying Fire
   17                 o Qualifying Failure or Qualifying Fire (Loss of Faith) Rebate
   18           For the Loss of Value for Certain Sold or Traded-In Vehicles benefit, the
   19              vehicle must have been sold or traded in before November 22, 2023, not
   20              June 7, 2023.
   21             For the Qualifying Failure or Qualifying Fire (Loss of Faith) Rebate
   22              benefit, the vehicle must have been sold or traded in after November 22,
   23              2023, not June 7, 2023, and the replacement vehicle purchased after
   24              November 22, 2023, not June 7, 2023.
   25             The deadline to opt out and/or object is December 26, 2023, instead of
   26              August 7, 2023.
   27             The deadline to install KSDS to qualify for certain benefits is April 20,
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                                                -2-                Case No. 8:18-cv-02223-JLS-JDE
                                   STATUS UPDATE REGARDING NOTICE TO CERTAIN CLASS MEMBERS
Case 8:18-cv-02223-JLS-JDE Document 155 Filed 11/16/23 Page 4 of 4 Page ID #:6302




    1              2024, instead of November 4, 2024.
    2        To account for the new deadlines to opt out and object, defendants propose
    3 submitting a status report to the Court by January 8, 2023, instead of December 22,
    4 2023, updating the Court of any such opt outs and objections and addressing these
    5 potential objections.
    6
    7   DATED: November 16, 2023                QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
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    9
                                                By__/s/ Shon Morgan_______________
   10
                                                Shon Morgan
   11                                           Attorney for Hyundai Motor Company,
                                                Hyundai Motor America, Kia America,
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                                                Inc., and Kia Corporation
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                                             -3-                Case No. 8:18-cv-02223-JLS-JDE
                                STATUS UPDATE REGARDING NOTICE TO CERTAIN CLASS MEMBERS
